            Case 23-11069-CTG        Doc 1086-1      Filed 11/09/23    Page 1 of 3




                                   CERTIFICATE OF SERVICE


       I, Garvan F. McDaniel, hereby certify that on November 9, 2023, I caused a copy of the

foregoing to be served upon all parties registered for service via CM/ECF and the parties on the

attached service list.




                                                           /s/ Garvan F. McDaniel
                                                           Garvan F. McDaniel
         Case 23-11069-CTG       Doc 1086-1   Filed 11/09/23    Page 2 of 3




                                  SERVICE LIST
VIA EMAIL
Whitney Fogelberg                         Allyson B. Smith
Kirkland & Ellis LLP                      Aaron Metviner
300 North LaSalle                         Kirkland & Ellis LLP
Chicago, Illinois, 60654                  601 Lexington Avenue
whitney.fogelberg@kirkland.com            New York, New York 10022
                                          allyson.smith@kirkland.com
                                          aaron.metviner@kirkland.com
Laura Davis Jones                         Jane Leamy
Timothy P. Cairns                         Richard Schepacarter
Timothy P. Cairns                         Office of the United States Trustee
Peter J. Keane                            for the District of Delaware
Edward Corma                              844 King Street, Suite 2207
Pachulski Stang Ziehl & Jones LLP         Lockbox 35
919 North Market Street, 17th Floor       Wilmington, Delaware 19801
PO Box 8705                               jane.m.leamy@usdoj.gov
Wilmington, Delaware 19801                richard.schepacarter@usdoj.gov
ljones@pszjlaw.com
tcairns@pszjlaw.com
pkeane@pszjlaw.com
ecorma@pszjlaw.com
Philip C. Dublin                          Eric Winston
Meredith A. Lahaie                        Quinn Emmanuel Urquhart & Sullivan
Stephen B. Kuhn                           865 S. Figueroa St., 10th Floor
Kevin Zuzolo                              Los Angeles, CA 90017
Akin Gump Strauss Hauer & Feld LLP        ericwinston@quinnemanuel.com
One Bryant Park
Bank of America Tower
New York, NY 10036-6745
pdublin@akingump.com
mlahaie@akingump.com
skuhn@akingump.com
kzuzolo@akingump.com
Susheel Kirplani                          Lucas S. Smith
Quinn Emmanuel Urquhart & Sullivan        Ropes & Gray LLP
51 Madison Avenue, 22nd Floor             191 North Wacker Drive, 32nd Floor
New York, NY 10010                        Chicago, IL 60606
susheelkirpalani@quinnemanuel.com         Luke.Smith@ropesgray.com
          Case 23-11069-CTG       Doc 1086-1   Filed 11/09/23    Page 3 of 3




Natasha S. Hwangpo                         Joshua M. Spencer
Ropes & Gray LLP                           Phillip W. Nelson
1211 Avenue of the Americas                Holland & Knight LLP
New York, NY 10036                         50 N. Riverside Plaza, Suite 2700
Natasha.Hwangpo@ropesgray.com              Chicago IL 60606
                                           Joshua.Spencer@hklaw.com
                                           Phillip.Nelson@hklaw.com
Scott Greissman                            Kevin Simard
Elizabeth Feld                             Hampton Foushee
Andrew Zatz                                Choate, Hall & Stewart LLP
White & Case LLP                           Two International Place
1221 Avenue of the Americas                Boston, MA 02110
New York, New York 10020                   ksimard@choate.com
sgreissman@whitecase.com                   hfoushee@choate.com
efeld@whitecase.com
azatz@whitecase.com
Joshua M. Spencer                          Ronald J. Silverman
Phillip W. Nelson                          Christopher R. Bryant
Holland & Knight LLP                       Hogan Lovells US LLP
50 N. Riverside Plaza, Suite 2700          390 Madison Avenue
Chicago IL 60606                           New York, New York 10017
Joshua.Spencer@hklaw.com                   ronald.silverman@hoganlovells.com
Phillip.Nelson@hklaw.com                   chris.bryant@hoganlovells.com
Michael Messersmith                        Benjamin Mintz
Arnold & Porter Kaye Scholer LLP           Arnold & Porter Kaye Scholer LLP
70 West Madison Street, Suite 4200         250 West 55th Street
Chicago, Illinois 60602                    New York, New York 10019
michael.messersmith@arnoldporter.com       benjamin.mintz@arnoldporter.com
Attn: Rosa Evergreen
Arnold & Porter Kaye Scholer LLP
601 Massachusetts Ave., N.W.
Washington, DC 20001
rosa.evergreen@arnoldporter.com

VIA FIRST CLASS MAIL
Yellow Corporation
11500 Outlook Street, Suite 400
Overland Park, Kansas 66211
Attn.: General Counsel
